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                             Exhibit B
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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

   BING GUAN, GO NAKAMURA, MARK ABRAMSON,
   KITRA CAHANA, and ARIANA DREHSLER,

                                Plaintiffs,
                                                                                          Civil Action
                  v.                                                                      No. 19-CV-6570

   ALEJANDRO MAYORKAS, Secretary of the U.S.                                              (Chen, J.)
   Department of Homeland Security, in his official capacity;                             (Henry, M.J.)
   CHRIS MAGNUS, Commissioner of the U.S. Customs and
   Border Protection, in his official capacity; TAE JOHNSON,
   Acting Director of the U.S. Immigration and Customs
   Enforcement, in his official capacity,

                                Defendants.

   - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                   DEFENDANTS’ RESPONSES AND OBJECTIONS TO
            PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION TO DEFENDANTS

           Defendants Alejandro Mayorkas, Secretary of the U.S. Department of Homeland Security

  (“DHS”), in his official capacity; Chris Magnus, Commissioner of the U.S. Customs and Border

  Protection (“CBP”), in his official capacity; and Tae Johnson, Acting Director of the U.S.

  Immigration and Customs Enforcement (“ICE”), in his official capacity, by their attorney, Breon

  Peace, United States Attorney for the Eastern District of New York, David A. Cooper and Ekta R.

  Dharia, Assistant United States Attorneys, and Mary McGarvey-DePuy, Special Assistant United

  States Attorney, of counsel, hereby submit, upon information and belief, their responses to

  Plaintiffs’ First Request for Production to Defendants (“Plaintiffs’ Document Requests”), dated

  December 30, 2021, as follows.
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  Defendants also object to this request on the grounds that it fails to specify any time limitation and,

  as such, is unduly burdensome. Defendants further object to this request to the extent that it seeks

  documents that are protected in part by privilege, including but not limited to, the law enforcement

  privilege, deliberative process privilege, attorney-client privilege, or work product doctrine.

  Defendants also object to this request to the extent that it requests information or documents that

  are protected from disclosure by federal or state law, including but not limited to, the Privacy Act

  (5 U.S.C. § 552a).

         Subject to and without waiving or in any way limiting these objections, Defendants respond

  in accordance with Rule 34 of the Federal Rules of Civil Procedure as follows: Defendants are

  producing documents responsive to this request, bearing Bates Stamp Nos. CBP_000001 to

  CBP_0000050. These documents are marked as “CONFIDENTIAL” and are subject to the

  Protective Order entered into in this case.



  REQUEST NO. 7:

         All Documents, including Communications, concerning Operation Secure Line (“OSL”),

  including the contemplation, formulation, development, implementation, operation, enforcement,

  modification, or termination of OSL.

  RESPONSE:

         Defendants object to Plaintiffs’ definition of Operation Secure Line. In responding to this

  request, Defendants have interpreted Operation Secure Line as follows: CBP and DHS launched

  Operation Secure Line in or around October 2018, in response to the migrant caravans traveling

  from Honduras and Guatemala as a group through Mexico with an anticipated destination as the

  United States, to coordinate efforts to impede or deny illegal crossings, interdict any attempts at

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  mass migration, and immediate repatriate any persons not to be found in need of protection, in

  support of CBP’s overall security mission. Defendants also object to this request on the grounds

  that it is vague and ambiguous as it does not define the terms “contemplation,” “formulation,”

  “development,” “implementation,” “operation,” “enforcement,” “modification,” or “termination”

  of Operation Secure Line. Defendants further object to this request on the grounds that it is overly

  broad and disproportionate to the needs of the case in that the request calls for documents that are

  not relevant and/or not important to resolving the matters at issue in this litigation. Defendants also

  object to this request as overbroad and unduly burdensome to the extent it seeks documents

  regardless of whether the documents concern Plaintiffs or the allegations in Plaintiffs’ Complaint.

  Defendants further object to the extent this request seeks records that are not in the possession of

  Defendants. Defendants also object to this request on the grounds that it fails to specify any time

  limitation and, as such, is unduly burdensome. Defendants also object to this request to the

  extent that it seeks documents that are protected by the law enforcement privilege, deliberative

  process privilege, attorney client privilege, work product doctrine, or other applicable privilege.

        Subject to and without waiving or in any way limiting these objections, and interpreting the

  term Operation Secure Line as defined by Defendants above, Defendants respond in accordance

  with Rule 34 of the Federal Rules of Civil Procedure as follows: Defendants are searching for

  documents responsive to this request, and will supplement this response by producing any non-

  privileged, responsive documents located, to the extent they apply to Plaintiffs’ activities alleged

  in the Complaint.



  REQUEST NO. 8:

         All Documents, including Communications, concerning the OSL Targeting List, including

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  further object to this request to the extent it seeks information protected by the law enforcement

  privilege, deliberative process privilege, attorney client privilege, work product doctrine, or other

  applicable privilege. Defendants also object to this request to the extent that it requests information

  or documents that are protected from disclosure by federal or state law, including but not limited

  to, the Privacy Act (5 U.S.C. § 552a).

         Subject to and without waiving or in any way limiting these objections, Defendants respond

  in accordance with Rule 34 of the Federal Rules of Civil Procedure as follows: Defendants are

  searching for documents responsive to this request, and will supplement this response by producing

  any non-privileged, responsive documents related to the operational use of the PowerPoint, to the

  extent they apply to Plaintiffs or Plaintiffs’ activities alleged in the Complaint.



  REQUEST NO. 10:

         All Documents, including Communications, concerning the actual or potential inclusion of

  any Journalist or member of the Media on the OSL Targeting List.

  RESPONSE:

         Defendants object to Plaintiffs’ characterization of the PowerPoint entitled “San Diego

  Sector Foreign Operations Branch: Migrant Caravan FY-2019, Suspected Organizers,

  Coordinators, Instigators and Media,” as the “OSL Targeting List” in the Definitions section of

  Plaintiffs’ Document Requests.     Defendants object to this request on the grounds that it is overly

  broad and disproportionate to the needs of the case in that the request calls for documents that are

  not relevant and/or not important to resolving the matters at issue in this litigation. Defendants

  further object to this request on the grounds that it is vague and overbroad as it does not define the

  term “actual or potential inclusion.” Defendants also object to this request as overbroad and unduly

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  burdensome to the extent it seeks documents and communications regarding individuals included in

  in the PowerPoint other than Plaintiffs. Defendants further object to the extent this request seeks

  records that are not in the possession of Defendants. Defendants also object to this request on the

  grounds that it fails to specify any time limitation and, as such, is unduly burdensome. Defendants

  further object to this request to the extent it seeks information protected by the law enforcement

  privilege, deliberative process privilege, attorney client privilege, work product doctrine, or other

  applicable privilege. Defendants also object to this request on the grounds that it requests

  information or documents that are protected from disclosure by federal or state law, including but

  not limited to, the Privacy Act (5 U.S.C. § 552a).

         Subject to and without waiving or in any way limiting these objections, Defendants respond

  in accordance with Rule 34 of the Federal Rules of Civil Procedure as follows: Defendants are

  searching for documents responsive to this request, and will supplement this response by producing

  any non-privileged, responsive documents relating to the inclusion of Plaintiffs in the PowerPoint.



  REQUEST NO. 11:

         All Documents, including Communications, concerning any investigation or audit of OSL

  or the OSL Targeting List.

  RESPONSE:

         Defendants object to Plaintiffs’ definition of Operation Secure Line. Defendants object to

  Plaintiffs’ characterization of the PowerPoint entitled “San Diego Sector Foreign Operations

  Branch: Migrant Caravan FY-2019, Suspected Organizers, Coordinators, Instigators and Media,”

  as the “OSL Targeting List” in the Definitions section of Plaintiffs’ Document Requests.

  Defendants further object to this request on the grounds that it is vague and overbroad as it does not

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  United States, to coordinate efforts to impede or deny illegal crossings, interdict any attempts at

  mass migration, and immediate repatriate any persons not to be found in need of protection, in

  support of CBP’s overall security mission. Defendants object to this request as vague and

  ambiguous as it does not define the terms “policies,” “procedures,” “practices,” “operations,”

  “International Liaison Unit,” “Emergency Operations Center,” “Tactical Terrorism Response

  Team,” “OMEGA,” “sufficient to show,” “entity,” “unit,” and “participated.”          Defendants also

  object to this request on the grounds that it is overly broad and disproportionate to the needs of the

  case in that the request calls for documents that are not relevant and/or not important to resolving

  the matters at issue in this litigation. Defendants object to the request as overbroad and unduly

  burdensome to the extent that it seeks documents regardless of whether those entities concern

  Plaintiffs, their journalistic activities, or the allegations in Plaintiffs’ Complaint. Defendants also

  object because this request is not calculated to lead to admissible evidence. Defendants also object

  to this request on the grounds that it fails to specify any time limitation and, as such, is unduly

  burdensome. Defendants further object to this request to the extent it seeks information protected

  by the law enforcement privilege, deliberative process privilege, attorney client privilege, work

  product doctrine, or other applicable privilege.

         On the basis of these objections, Defendants will not produce documents responsive to this

  request.



  REQUEST NO. 26:

         All Documents, including Communications, created, prepared, maintained, processed, sent,

  or received by any International Liaison Unit, Emergency Operation Center, Tactical Terrorism

  Response Team, OMEGA, or other entity that participated in OSL concerning any Journalist or

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  member of the Media on the OSL Targeting List.

  RESPONSE:

          Defendants object to Plaintiffs’ definition of Operation Secure Line. In responding to this

  request, Defendants have interpreted Operation Secure Line as follows: CBP and DHS launched

  Operation Secure Line in or around October 2018, in response to the migrant caravans traveling

  from Honduras and Guatemala as a group through Mexico with an anticipated destination as the

  United States, to coordinate efforts to impede or deny illegal crossings, interdict any attempts at

  mass migration, and immediate repatriate any persons not to be found in need of protection, in

  support of CBP’s overall security mission. Defendants object to Plaintiffs’ characterization of the

  PowerPoint entitled “San Diego Sector Foreign Operations Branch: Migrant Caravan FY-2019,

  Suspected Organizers, Coordinators, Instigators and Media,” as the “OSL Targeting List” in the

  Definitions section of Plaintiffs’ Document Requests. Defendants further object to this request as

  vague and ambiguous as it does not define the terms “created,” “prepared,” “maintained,”

  “processed,” “sent,” “received,” “International Liaison Unit,” “Emergency Operations Center,”

  “Tactical Terrorism Response Team,” “OMEGA,” “entity,” and “participated.” Defendants also

  object to this request on the grounds that it is overly broad and disproportionate to the needs of the

  case in that the request calls for documents that are not relevant and/or not important to resolving

  the matters at issue in this litigation. Defendants object to the request as overbroad and unduly

  burdensome to the extent that it seeks documents regardless of whether those entities concern

  Plaintiffs, their journalistic activities, or the allegations in Plaintiffs’ Complaint. Defendants also

  object to this request on the grounds that it fails to specify any time limitation and, as such, is unduly

  burdensome. Defendants further object to this request to the extent it seeks information protected

  by the law enforcement privilege, deliberative process privilege, attorney client privilege, work

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  product doctrine, or other applicable privilege. Defendants also object to this request to the extent

  that it requests information or documents that are protected from disclosure by federal or state law,

  including but not limited to, the Privacy Act (5 U.S.C. § 552a).

         Subject to and without waiving or in any way limiting these objections, and interpreting the

  term Operation Secure Line as defined by Defendants above, Defendants respond in accordance

  with Rule 34 of the Federal Rules of Civil Procedure as follows: Defendants are searching for

  documents responsive to this request, and will supplement this response by producing any non-

  privileged, responsive documents located, to the extent they apply to Plaintiffs’ activities alleged

  in the Complaint.



  REQUEST NO. 27:

         Documents, including Communications, sufficient to show the policies, procedures, and

  practices governing the operations of the Operation Against Smugglers Initiative on Safety and

  Security, including its information gathering or sharing activities.

  RESPONSE:

         Defendants object to this request as vague and ambiguous as it does not define the terms

  “sufficient to show,” “policies,” “procedures,” “practices,” “governing,” “operations,” “Operation

  Against Smugglers Initiative on Safety and Security,” and “information gathering or sharing.” In

  responding to this request, Defendants have interpreted the term “Operation Against Smugglers

  Initiative on Safety and Security” as follows: In 2005, in partnership with the Government of

  Mexico, U.S. Border Patrol implemented Operation Against Smugglers Initiative on Safety and

  Security to enable the prosecution of Mexican human smugglers, through Mexican courts, using

  information obtained via interviews conducted by U.S. Border Patrol agents while in United States

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   custody. Defendants also object to this request on the grounds that it is overly broad and

   disproportionate to the needs of the case in that the request calls for documents that are not relevant

   and/or not important to resolving the matters at issue in this litigation. Defendants object to the

   request as overbroad and unduly burdensome to the extent that it seeks documents regardless of

   whether those policies, procedures, or practices concern Plaintiffs or the allegations in Plaintiffs’

   Complaint. Defendants also object to this request on the grounds that it fails to specify any time

   limitation and, as such, is unduly burdensome Defendants further object to this request to the extent

   that it is duplicative of Plaintiffs’ Document Request No. 25. Defendants further object to this

   request to the extent it seeks information protected by the law enforcement privilege, deliberative

   process privilege, attorney client privilege, work product doctrine, or other applicable privilege.

          Subject to and without waiving or in any way limiting these objections, , and interpreting the

   term “Operation Against Smugglers Initiative on Safety and Security” as defined by Defendants

   above, Defendants respond in accordance with Rule 34 of the Federal Rules of Civil Procedure as

   follows: Defendants are searching for “policies, procedures, and practices governing the

   operations” of the Operation Against Smugglers Initiative on Safety and Security that are related to

   the PowerPoint, and will supplement this response by producing any non-privileged, responsive

   documents located.



   REQUEST NO. 28:

          All Documents, including Communications, created, prepared, maintained, processed, sent,

   or received by the Operation Against Smugglers Initiative on Safety and Security concerning any

   Journalist or member of the Media on the OSL Targeting List.




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   RESPONSE:

          Defendants object to Plaintiffs’ characterization of the PowerPoint entitled “San Diego

   Sector Foreign Operations Branch: Migrant Caravan FY-2019, Suspected Organizers,

   Coordinators, Instigators and Media,” as the “OSL Targeting List” in the Definitions section of

   Plaintiffs’ Document Requests.      Defendants object to this request as vague and ambiguous as it

   does not define the terms “created,” “prepared,” “maintained,” “processed,” “sent,” “received,” or

   “Operation Against Smugglers Initiative on Safety and Security.” In responding to this request,

   Defendants have interpreted the term “Operation Against Smugglers Initiative on Safety and

   Security” as follows: In 2005, in partnership with the Government of Mexico, U.S. Border Patrol

   implemented “Operation Against Smugglers Initiative on Safety and Security” to enable the

   prosecution of Mexican human smugglers, through Mexican courts, using information obtained via

   interviews conducted by U.S. Border Patrol agents while in United States custody. Defendants also

   object to this request on the grounds that it is overly broad and disproportionate to the needs of the

   case in that the request calls for documents that are not relevant and/or not important to resolving

   the matters at issue in this litigation. Defendants object to the request as overbroad and unduly

   burdensome to the extent that it seeks documents regardless of whether those documents concern

   Plaintiffs or the allegations in Plaintiffs’ Complaint. Defendants further object to this request to the

   extent it seeks information protected by the law enforcement privilege, deliberative process

   privilege, attorney client privilege, work product doctrine, or other applicable privilege. Defendants

   also object to this request on the grounds that it fails to specify any time limitation and, as such, is

   unduly burdensome.

          Subject to and without waiving or in any way limiting these objections, and interpreting the

   term “Operation Against Smugglers Initiative on Safety and Security” as defined by Defendants

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   above, Defendants respond in accordance with Rule 34 of the Federal Rules of Civil Procedure as

   follows: Defendants are searching for documents responsive to this request, and will supplement

   this response by producing any non-privileged, responsive documents located concerning Plaintiffs

   and the PowerPoint.



   REQUEST NO. 29:

          All Documents, including Communications, provided to, reviewed, referenced, or generated

   by the Department of Homeland Security’s Office of the Inspector General (“OIG”) in connection

   with, or otherwise concerning, the internal investigation reflected in the report entitled “CBP

   Targeted Americans Associated with the 2018-2019 Migrant Caravan,” OIG-21-62, dated Sept. 20,

   2021 (the “OIG Report”), including:

          a. The 1990 TECS directive, and the statements by “a high-level EOC official” who

          “confirmed that CBP officials should reevaluate lookouts after every inspection”;

          b. Documents concerning OIG’s conclusion that persons were subjected to “repeated and

          unnecessary secondary inspections”;

          c. Documents concerning OIG’s conclusion that “in some instances, CBP’s inspections

          were not consistent with the purported purpose of the lookouts”;

          d. Documents concerning the identity and conduct of “EOC Official 1” who “placed

          lookouts on the five journalists”;

          e. Documents concerning the identity and conduct of the “CBP intelligence official who

          was not part of the EOC,” who “placed a lookout on a journalist after finding a YouTube

          video of his coverage of the January 1, 2019 border incursion”;

          f. Documents concerning whether any of Plaintiffs were among the U.S. citizens for whom

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   Dated: January 31, 2022
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